Case 01-01139-AMC Doc 15689-1 Filed 05/17/07 Page1of4

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case No. 01-01139 (JKF)
) (Jointly Administered)
Debtors. )
CERTIFICATE OF SERVICE

I, James E. O’Neill, hereby certify that on the 17" day of May, 2007, I caused a
copy of the following document(s) to be served on the individuals on the attached service list(s)

in the manner indicated:

COUNTER-DESIGNATION OF ITEMS TO BE INCLUDED IN THE
RECORD ON APPEAL OF THE BANKRUPTCY COURT’S ORDER
DISALLOWING 71 UNAUTHORIZED SPEIGHTS & RUNYAN CLAIMS.

Dans Coheut

Ry E. O’Neill (Bar No. 4042)

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Case 01-01139-AMC Doc 15689-1 Filed 05/17/07 Page 2of4

W. R. Grace Core Group Service List
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